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           Looking forward your quick responses,
           Regards,
           Ksvin Kihua
           New York Bureau Chief
           World News Desk
           The Chosun llbo (Daily)
           453-A, U~ Headquarters, 405 E 42rid St.,
           New York, ~ 10017-3507
           Phone 212-963-8921
           Fax 20~-784-1~73
           Cell~la= 201-618-9631
           Email : khkJJ~ehosun,com
           Website I. www,ehosua,om




           .....   End forwarded message .....




           From: Jo, Butler <jon.butler@yale.edu>
           Date: December 28. 2007 1:23:01 PM EST
           To: Helaine Klasky <helaine.klask¥@yale.edu>
           Subject: Re: Kevln KIm, Chosun

           Rt the home en~ cell R~one numbers in the ~all below--preferably now m~ cell phons: 203
           314-9058. We have several different approaches goin~ on all at th~-~--~’im-~, so we ~d-~
           settle on one app~a¢h.
           Jon

           On Dec 28, 2007, at 12121 PM, Belaine Klasky wrote;

           Row can I reach you?

           Rele£ne 8. Klasky
           Associate Vice President and
           Direo~or of Public affairs
           Yele University




       Redacted

                                                                                          YALEO0007069
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                                                                               PLAINTIFF’S
                      End forwarded message .....                                EXHIBIT




          Harold Rose, Associate General Counsel
          Yale University
          PO BOX 208255
          New Haven, CT 06520-8255
          Tel. (203) 432-4949; Fax (203) 432-7960
          <Ltr Jeong Ah Shin Subpoena.pdf>

          From: Joe Butler ~on.butler@y~e.edu>
          Date: December 28, 2007 4:13:34 PM EST
          TO: Klasky Hel~ne <helaine.klasky@yale.edu>
          Su~ect: dra~ Shin statement
          Yale 0niversity earlier this month expressed regrets to XXXXX, the [President?] of Dongkuk
          University in XXXXXX, ~orea, that a8 administrative error at Yale in September 2005 led to
          an incorrect verification of a document wzitten on a Yale letterhead incorrectly stating
          that Ms. Jeong Ah Shin had received a Ph.D. from Yale University in 2005 (is date of %he
          fake degree correct?) The University deeply regrets this error and the difficulty the errc
          caused Dongkuk University.
           Ms. Shin never attended Yale University and never received a Ph.D. fro~ Yale. Ms. Shin
           created several false documents to support her claim of a Yale Ph.D., including a fake
           diploma, s claim to have written e dissertation actually sub~%itted at the university of
           Virginia in 1981, and the false document written on Yale letterhead claiming that Yale had
           v~rified her Ph.D (among others?}.
           Yale has undertaken an extensive examination of its erroneous September 2005 verification,
           has chan.ged it__sp!otocols’for verifying graduate degrees, and stands ready to cooperate with
           Korean governmental officials in the investigation of this ~attel.
           From: Joe Butler <jon.butler@yale.edu>
           Date: December 28, 2007 5:15:56 PM EST
           To: Helaine Klasky <helaine.klasky@ yale.edu>
           Subject: Re: draft Shin statement
           Selalne:

           DO you wan~ me to send this to Dorothy, Rick, et al.? I can do t~at. I also have the name
           of the Don~kuk University president. I also have two spellings for the university--Dongguk
           and Dongkuk--both in Susan cArney’s letter to the president there of July i0, 20~7.

           Tell n~ where to send this, and I will do it--or I will defer to you.
           Joe




           On De~ 28, 2007, at 5:06 PM, Helaine Klasky wrote:

             think this is great.
             am havong trouble getting on-line
           selalne s. Klasky
           Associate Vice President and
           Director of Public Affairs
           Yale University
           .... Original Message ....
           Prom: "Joe Butler" <jon.butler@yale.edu>



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          Date: 12128/07 4~14 pm
          To: -Klask¥ Helaine" <helaine.kleaky@yale.edu>
          Subj$ draft Shin statement
          Yale University eaEller this month e~preesed regrets to XXXXX, the
          [president?| of Dongkuk University in XXXXXX, Korea, that an
          ack~nistrative after at Yale in September 2005 led to an incorrect
          verification of a document written on a Yale letterhead incorrectly
          stating that Me. Jeong Ah Shin had received a Ph.D. from Yale
          University in 2005 (is date of the fake degree correct?) The
          University deeply regrets this error and the difficulty the error
          caused Dongkuk University.
          Ms. Shin never attended Yale University and never received a Ph.D.
          fr0~ yale. Ms. Shin created several false documents to support her
          claim of a Yale Ph.D., including a fake diploma, a ~laim to have
          written a dissertation actually submitted at the University of
          Virginia in 1981, and the false document written on Yale letterhead
          clai~,ing that Yale had verified her Ph.D (muong others?).

          Yale has undertaken an extensive examination of its erroneous
          ~eptember 2005 verification, has chan~ed its protocols for verifying
          graduate degrees, and stands ready to cooperate with Korean
          governmental officials in the investigation of this matter.




     Redacted




                                                                                 YALE00007082
